       Case 1:05-cr-01849-JCH          Document 368-1       Filed 03/10/06      Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                  Plaintiff,

           vs.                                                               No. CR 05-1849 JH

DANA JARVIS, et al.,

                  Defendants.

             ORDER GRANTING DEFENDANTS’ UNOPPOSED JOINT MOTION
                FOR LEAVE TO JOINTLY FILE PROCEDURAL MOTIONS

           THIS MATTER HAVING COME BEFORE THIS COURT UPON The Unopposed

Motion of Defendants Dana Jarvis, Mary Cannant, Barbara Hanna, Ayla Jarvis, Mike Hannah,

Cathy Fitzgerald, Geno Berthod, Sam Jones, Adrian Sanford, Ralph Greene, George Ripley,

Russell Trujillo, and Matthew Hottan, through their appointed counsel, and joined by defendants

Reid, Hill, Abeyta, Gil-Vasquez, and Ortiz-Moffett through retained counsel, for Leave to File

Procedural Motions Jointly, the Court having noted the concurrence of the Assistant United

States Attorney, and having reviewed the file, FINDS granting this Motion is in the interests of

justice and of judicial economy and should be granted. NOW THEREFORE

           IT IS ORDERED all defendants are hereby granted leave to file procedural motions

jointly.


                                               _________________________________________
                                               THE HONORABLE JUDITH C. HERRERA
                                               UNITED STATES DISTRICT COURT JUDGE
SUBMITTED BY:

  Electronically Filed
Penni Adrian
Counsel for Russell Trujillo and on behalf
of all counsel and defendants
      Case 1:05-cr-01849-JCH       Document 368-1   Filed 03/10/06   Page 2 of 2




APPROVED BY:

  Telephonic Approval 3-9-06
James Braun
Assistant United States Attorney




                                           2
